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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

FREDERICK DOBBINS
AND MARIANN DOBBINS
CIVIL ACTION NUMBER
VS.
M-15-088
GREAT NORTHERN INSURANCE
COMPANY

\./V\./\_/V`,`,

ORDER OF REMAND
On the 8th day' of May, 2015, came on to be heard the
Plaintiff's Motion to Remand (Docket Entry Number 8), and the Court
after having considered said motion, the pleadings on file and the
arguments of counsel, was of the opinion that said motion should be
granted for the reasons stated on the record.

It is, therefore, ORDERED, ADJUDGED and DECREED that
Plaintiff's Motion to Remand is GRANTED and the above-styled case
is hereby REMANDED to the 398th Judicial District Court of Hidalgo
County, Texas, and the Clerk shall take the necessary steps to
effectuate said remand.

The Clerk shall send a copy of this Order of Remand to counsel

for the parties. /]fL

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DONE on this '/ day Of May, 2015, at McAllen, Texas.

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Ricardo H. Hinojosa
CHIEF U. S. DISTRICT JUDGE

 

